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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


JAMISON HAWES,                                 1:17-CV-12927-TGB

                 Plaintiff,

                                                     ORDER
     vs.

ALLIED BUSINESS SERVICES,                HONORABLE TERRENCE G.
                                                BERG
                 Defendant.



                       ORDER OF DISMISSAL

     On April 9, 2018, the Court was notified that the parties had

reached a resolution in this matter. Parties were directed to submit a

stipulation and proposed order of dismissal.      Parties have taken no

further action. Therefore, the case will be dismissed.

     Accordingly, it is ORDERED that the Complaint is DISMISSED

WITH PREJUDICE. The Court retains jurisdiction over this matter

to enforce the terms of the settlement agreement. See, e.g., Moore v.

United States Postal Serv., 369 Fed. App’x 712 (6th Cir. 2010).
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     SO ORDERED.

     DATED this 19th day of June, 2018.

                                   BY THE COURT:


                                   /s/Terrence G. Berg
                                   TERRENCE G. BERG
                                   United States District Judge




                       CERTIFICATE OF SERVICE

          Copies of this Order were served upon parties of record on
             June 19, 2018, by electronic and/or ordinary mail.
                              /s/ Amanda Chubb
                                 Case Manager
                                (313) 234-2644
